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                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS

                                                 )
UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )           Crim. No. 17-10378-NMG
                                                 )
BRIAN AUGUSTINE JOYCE,                           )
                                                 )
       Defendant.                                )

     ASSENTED-TO MOTION FOR LEAVE TO FILE REPLY TO OPPOSITION
    TO GOVERNMENT’S MOTION TO DISQUALIFY ATTORNEY HOWARD M.
   COOPER AND REQUEST FOR AUTHORIZATION TO ISSUE A SUBPOENA TO
               ATTORNEY HOWARD M. COOPER [Dkt. E. 69]

       The United States of America, by and through the undersigned Assistant U.S. Attorneys

and with the assent of opposing counsel, respectfully moves for leave pursuant to Local Rule

7.1(B)(3) to file a response to the Opposition of Brian A. Joyce and Howard M. Cooper to the

Government’s Motion to Disqualify Attorney Howard M. Cooper and Request for Authorization

to Issue a Subpoena to Attorney Howard M. Cooper. The government further moves for leave to

respond to the issues raised in the amicus briefs filed by the Massachusetts Bar Association, et al.

and the Boston Bar Association should the Court permit the filing of these pleadings.

       As grounds therefor, the government states:

   1. A February 26, 2018, the government filed a Motion to Motion to Disqualify Attorney

       Howard M. Cooper and Request for Authorization to Issue a Subpoena to Attorney Howard

       M. Cooper;

   2. On April 2, 2018, the defendant and Howard M. Cooper filed a 33-page Opposition with

       thirteen attachments;

   3. On April 2, 2018, the Massachusetts Bar Association and others moved for leave to file an

       amici curiae brief and submitted a 28-page brief (Dkt E. 71); and
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   4. On April 2, 2018, the Boston Bar Association moved for leave to file amici curiae brief

       along with a 9-page brief (Dkt. E. 73).

       The government states that the Opposition to the Motion to Disqualify and the amicus

briefs (should the Court permit their filing) raise several issues not previously addressed in the

Government’s Memorandum in Support of its Motion to Disqualify.

       Wherefore, the government respectfully requests that it be granted leave to file a

Response to the Opposition to the Motion to Disqualify as well as the amicus briefs (should it

become necessary).

       The government has consulted with the counsel of record who do not object to the

government’s motion for leave to file a response brief. The government further has agreed that it

has no opposition to the filing of a sur-reply if the defense believes it is necessary.

                                                               Respectfully submitted,

                                                               ANDREW E. LELLING
                                                               United States Attorney

                                                       By:     /s/ William F. Bloomer
                                                               WILLIAM F. BLOOMER
                                                               DUSTIN CHAO
                                                               Assistant U.S. Attorneys
                                                               617-748-3100


Date: April 4, 2018




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                          CERTIFICATE OF COMPLIANCE WITH
                                 LOCAL RULE 7.1(A)(2)

       I, William F. Bloomer, do hereby certify that counsel have conferred in the above-
captioned matter.

                                 CERTIFICATE OF SERVICE

        I, William F. Bloomer, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF).

                                                      /s/William F. Bloomer
                                                      WILLIAM F. BLOOMER
                                                      Assistant U.S. Attorney




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